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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT            CASE NO. 1:14-CV-01748
THERAPY PRODUCTS LIABILITY                 MDL 2545
LITIGATION
                                           JUDGE MATTHEW F. KENNELLY

                                           This Document Relates to:

                                           Mitchell v. AbbVie,
                                           Case No. 1:14-cv-09178




                DEFENDANTS’ MEMORANDUM OF LAW IN
               OPPOSITION TO PLAINTIFF’S BILL OF COSTS
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         Plaintiff cannot recover a substantial portion of the costs that he seeks. Specifically, the

Court should deny the majority of Plaintiff’s requested deposition costs for company employees

and general expert witnesses because the parties deposed these witnesses in connection with all

of the bellwether cases, not only Plaintiff’s. Allowing Plaintiff to recover the full requested

deposition costs for these witnesses would grant him a windfall, both by awarding him costs for

cases in which Defendants AbbVie Inc. and Abbott Laboratories (collectively “AbbVie”) have

prevailed or may ultimately prevail, and by assigning him costs incurred on behalf of other

bellwether plaintiffs. The Court should also deny the deposition costs and witness fees that

Plaintiff seeks for his marketing expert, Dr. Kessler, because Plaintiff did not prevail on the

fraudulent misrepresentation claim for which Dr. Kessler testified. Overall, the Court should

deny $38,816.58 of Plaintiff’s total requested costs. 1

                                                   ARGUMENT

I.       THE COURT SHOULD DENY PLAINTIFF THE PORTION OF DEPOSITION
         COSTS PROPERLY ALLOCATED TO THE OTHER BELLWETHER CASES

         The parties deposed AbbVie employees Jim Hynd, Michael Miller, Linda Scarazzini, and

Steven Wojtanowski and general expert witnesses Drs. French, Khera, Ardehali, Kessler, and

Pence in connection with all seven of the bellwether cases. The Court should therefore deny

Plaintiff sixth-sevenths—$36,856.17 —of the total $42,998.87 in available deposition costs that

he seeks for these witnesses. See Rafferty Decl. Supp. Pl.’s Bill of Costs, Ex. A at 1–2.

         Where, as here, “litigation costs are incurred in connection with more than one

proceeding, the district court should allocate the costs” across all of the proceedings. Winter v.




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     Of course, if the Court grants AbbVie’s pending Renewed Motion for Judgment as a Matter of Law Under Rule
     50(b) or, Alternatively, for a New Trial or Remittitur Under Rule 59, then it should deny Plaintiff’s bill of costs
     in its entirety as moot. See, e.g., LoggerHead Tools, LLC v. Sears Holding Corp., No. 12 C 9033, 2017 WL
     6569629, at *17 (N.D. Ill. Dec. 22, 2017).
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Novartis Pharm. Corp., 739 F.3d 405, 411 (8th Cir. 2014); see Ortho-McNeil Pharm., Inc. v.

Mylan Labs. Inc., 569 F.3d 1353, 1358 (Fed. Cir. 2009) (“Because the district court here did not

apportion costs between the two actions, we vacate the award of costs in this one respect and

remand for further proceedings.”); Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 764 (8th

Cir. 2006) (affirming district court’s division of costs across all thirteen cases); In re Air Crash

Disaster at John F. Kennedy Int'l Airport on June 24, 1975, 687 F.2d 626, 630 (2d Cir. 1982)

(holding that plaintiffs who prevailed at trial were “entitled only to their proportionate share of

allowable expenses incurred on behalf of all plaintiffs”); Ill. Migrant Council v. Pilliod, 672 F.

Supp. 1072, 1085 (N.D. Ill. 1987) (reducing plaintiff’s award of costs to account for depositions

taken jointly with other case). Indeed, a failure to apportion costs in this way constitutes an

abuse of the district court’s discretion. See Winter, 739 F.3d at 412 (holding in a pharmaceutical

multidistrict litigation that “[t]he district court abused its discretion in awarding the plaintiff full

costs for litigation-wide depositions”); Ortho-McNeil, 569 F.3d at 1358 (vacating “the portion of

the award of costs related to jointly taken depositions”); Air Crash Disaster, 687 F.2d at 629–30

(vacating district court’s award of costs based on failure to “make a pro rata reduction” for

plaintiffs who previously settled without costs). Consistent with this requirement, after

prevailing in Nolte, AbbVie sought only one-seventh of the costs incurred for the depositions of

general expert witnesses and did not seek costs for the depositions of company employees, and

the Court awarded AbbVie costs on that basis. See Nolte ECF 125 at 4; Nolte ECF 129.

        Multiple factors make clear that the parties deposed these company employees and

general expert witnesses in connection with all seven bellwether cases. First, the captions on the

deposition transcripts for these witnesses generally designate them as applicable to “all cases” or

“all actions.” Hynd Depo. at 1; Miller Depo. at 1; Scarazzini Depo. at 1; Wojtanowski Depo. at




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1; French Depo. at 1; Khera Depo. at 1; Ardehali Depo. at 1; Kessler Depo. at 1, collectively

attached hereto as Exhibit A; see Camarillo v. Pabey, No. 2:05-CV-455 PS, 2007 WL 3102144,

at *3 (N.D. Ind. Oct. 22, 2007) (allocating deposition costs equally among all cases for which

they were designated). Second, each of these witnesses also testified at trial in Konrad, and most

of them testified at trial in the Nolte and Myers cases where AbbVie prevailed. See Konrad II Tr.

277:14, 689:9–10, 696:2, 1005:19, 1300:11, 2164:12, 2353:8, 2511:12, 2833:9, attached hereto

as Exhibit B; Nolte Tr. 273:19, 686:4, 1459:24, 1697:3, 2098:14, 2243:20, attached hereto as

Exhibit C; Myers Tr. 212:13, 926:17–18, 1166:7, 1309:4–6, attached hereto as Exhibit D. Third,

the plaintiff in Konrad sought virtually the same maximum available deposition costs for these

witnesses, further illustrating that the plaintiffs incurred these costs in connection with all of the

bellwether cases. See Konrad ECF 120–2, Ex. A to Buchanan Decl. – Summ. of Costs at 1–2 &

n.*, attached hereto as Exhibit E.

       Under these circumstances, awarding Plaintiff the full deposition costs for these

witnesses would grant him a windfall in two ways. First, such an award would impermissibly

allow Plaintiff to recover costs for cases in which AbbVie—not the plaintiff—prevailed or may

ultimately prevail, as AbbVie did in both Nolte and Myers. Plaintiff cannot tax the portion of

costs incurred for such actual or potential losing parties. See Sommerfield v. City of Chi., No. 06

C 3132, 2017 WL 3675722, at *7 (N.D. Ill. Aug. 25, 2017) (“The losing party cannot tax

costs.”); Montanez v. Chi. Police Officers Fico (Star No. 6284), Simon (Star No. 16497), 931 F.

Supp. 2d 869, 889–90 (N.D. Ill. 2013) (denying costs to prevailing defendant because other

defendant did not prevail), aff’d sub nom. Montanez v. Simon, 755 F.3d 547 (7th Cir. 2014);

Cronshaw v. Philips Med. Sys., Inc., No. 94 C 1446, 1995 WL 22877, at *3 (N.D. Ill. Jan. 13,

1995) (“As [plaintiff] did not prevail on any contested issue in the litigation, he is not a




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prevailing party and is therefore not entitled to costs.”). Second, Plaintiff has no right to recover

for the portion of the deposition costs incurred on behalf of the other bellwether plaintiffs: “To

award to one plaintiff costs incurred on behalf of another runs counter to the cost-taxing

provisions of the Federal Rules of Civil Procedure and of the U.S. Code, which are designed to

reimburse a party for specified expenses incurred in successfully litigating a claim, not to punish

the unsuccessful party or to award a bonanza to the winner.” Air Crash Disaster, 687 F.2d at

629–30; see also Marmo, 457 F.3d at 764 (“The plaintiffs in each of these cases have incurred

costs, and the district court may not award [one plaintiff] costs for expenses that other plaintiffs

incurred.”); Ill. Migrant Council, 672 F. Supp. at 1085 (declaring that “[c]osts are like any other

claim—the amount sought must be sustained by the party seeking them”—and reducing

plaintiffs’ award of costs because they failed to carry their burden of untangling the costs of

depositions taken jointly with other case). The Court should thus deny Plaintiff the $36,856.17

in requested deposition costs that are properly assigned to the other six bellwether cases.

II.    THE COURT SHOULD DENY PLAINTIFF COSTS FOR DR. KESSLER WHOSE
       TESTIMONY RELATED TO A CLAIM THAT THE JURY REJECTED

       The Court should also prohibit Plaintiff from recovering costs unrelated to the negligence

claim on which he prevailed. See Fed. R. Civ. P. 54(d)(1) (only allowing recovery of costs by

“the prevailing party”); A. Kush & Assocs., Ltd. v. Am. States Ins. Co., No. 85 C 493, 1991 WL

101631, at *3 (N.D. Ill. May 31, 1991) (declaring that party was “not entitled to all of its costs”

because it “did not prevail on all claims” and reducing requested costs to account for the losing

claim); Horizon Hobby, Inc. v. Ripmax Ltd., No. 07-CV-2133, 2009 WL 3381163, at *4 (C.D.

Ill. Oct. 15, 2009) (holding that defendant “should not be required to pay for depositions solely

related to a claim on which [plaintiff] did not prevail”), aff’d, 397 F. App’x 627 (Fed. Cir. 2010).

In particular, the Court should deny the deposition costs and witness fees that Plaintiff seeks for



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his marketing expert, Dr. Kessler, because Dr. Kessler’s testimony focused on Plaintiff’s

fraudulent misrepresentation claim, and the jury specifically rejected that claim. Mitchell ECF

185; see, e.g., Mitchell II Tr. 760:9–762:1, 797:20–798:20 (Dr. Kessler opining that AbbVie

falsely or misleadingly marketed AndroGel off label), attached hereto as Exhibit F. Therefore,

after apportioning just one-seventh of Dr. Kessler’s deposition costs to this case, the Court

should deny another $1,960.41 in deposition costs and witness fees beyond the $36,856.17 in

deposition costs that properly relate to other bellwether cases.

                                         CONCLUSION

         For the foregoing reasons, the Court should deny $38,816.58 of Plaintiff’s requested

costs.

Dated: May 30, 2018

 By: /s/ David M. Bernick
     David M. Bernick
     Paul, Weiss, Rifkind, Wharton &
     Garrison LLP
     1285 Avenue of the Americas
     New York, NY 10019-6064
     Tel: (212) 373-3000
     dbernick@paulweiss.com

     Counsel for AbbVie Inc.




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                                  CERTIFICATE OF SERVICE

       I, David Bernick, hereby certify that on May 30, 2018, the foregoing document was filed

via the Court’s CM/ECF system, which will automatically serve and send email notification of

such filing to all registered attorneys of record.

                                                       /s/ David Bernick
                                                          David Bernick
